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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


PATRICIA A. PREPHAN

                                 Plaintiff,                     Case No. 3:11 CV 434
                  -vs-
                                                                DISMISSAL ORDER
NCO FINANCIAL SYSTEMS, INC., et al.

                                 Defendants.
KATZ, J.

           Upon representation of counsel that the cause of action has been settled between the

parties,

           IT IS ORDERED, that the docket be marked “Settled and dismissed without prejudice.”

           FURTHER ORDERED that each party is to bear its own costs.

           Any subsequent order setting forth different terms and conditions relative to the settlement

and dismissal of the within action shall supersede the within order. The Court retains jurisdiction

to vacate this Order and to reopen the action upon cause shown that the settlement has not been

completed and further litigation is necessary. Alternatively, the Court retains jurisdiction to

interpret and/or enforce the settlement agreement reached between the parties.



                                                          S/ David A. Katz
                                                        DAVID A. KATZ
                                                        U. S. DISTRICT JUDGE
